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                                UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

   MIDDLESEX WATER COMPANY,

             Plaintiff,                                 CIVIL ACTION NO. 2:18-cv-15366-CCC-
                                                        JBC
             v.
                                                        Hon. Claire Cecchi

   3M COMPANY (f/k/a Minnesota Mining
   and Manufacturing, Co.); JOHN DOE
   DEFENDANTS 1-49                                             SECOND AMENDED
                                                               COMPLAINT AND DEMAND
             Defendants.                                       FOR JURY TRIAL




        Plaintiff, Middlesex Water Company, by its undersigned attorneys, alleges upon

 information and belief, as follows:1

                                I.      NATURE OF THE ACTION

        1.        Plaintiff, Middlesex Water Company (“Plaintiff” or “Middlesex”), brings this

 action for damages arising from the intentional, knowing, reckless and/or negligent acts and/or

 omissions of Defendant in connection with the contamination of Plaintiff’s public drinking water

 supply with the toxic substances PFOS (perfluorooctanesulfonic acid) and PFOA

 (perfluorooctanoic acid) which fall within a class of substances known as per- and

 polyfluoroalkyl substances (“PFAS”) .

        2.        Defendant, 3M Company (“3M”) marketed, developed, manufactured, distributed

 released, trained users of, produced instructional materials for, sold and/or otherwise handled



 1 For ease of reference, the following paragraphs in Plaintiff’s Second Amended Complaint were
 not in Plaintiff’s Amended Complaint: 12-32, 78, 85-90, 92-95. Also, paragraphs 2, 4 and 33
 were slightly modified with two and four adding “in New Jersey” and thirty-three striking “Upon
 information and belief.”.


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 and/or used PFAS in New Jersey in such a way as to result in the contamination of Plaintiff’s

 public drinking water supplies.

         3.       3M knew or should have known that PFAS is a toxin and is persistent when

 released into the environment and presents significant risks to groundwater, drinking water

 supplies and human health.

         4.       3M marketed and sold PFAS in New Jersey with the knowledge that PFAS would

 be released into the environment and without warning users or others of the risks of PFAS to the

 environment and to human health

         5.       Through this action, Plaintiff seeks compensatory damages for the damage to its

 property, for the costs to investigate, remediate, and monitor PFAS contamination in its public

 drinking water supplies and the costs to investigate, design, construct, operate and maintain

 water treatment systems necessary to properly filter and/or treat PFAS from Middlesex’s

 drinking water supplies, as well as punitive damages and reasonable attorneys’ fees and costs.

                                   II.     JURISDICTION AND VENUE
         6.       This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332.

         7.       Venue is appropriate in this judicial district pursuant to 28 U.S.C. § 1391(b)(2)

 because a substantial part of the property that is the subject of the action is situated in this

 judicial district.

                                               III.       PARTIES

         8.       Plaintiff is a corporation organized and existing under the laws of the state of New

 Jersey having its principal place of business at 1500 Ronson Road, Iselin, New Jersey 08830.

         9.       Middlesex Water Company owns and operates regulated water utility and

 wastewater systems in New Jersey, Delaware and Pennsylvania.




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        10.     Middlesex operates a public water system within Middlesex County, New Jersey

 that serves over 60,000 residential and commercial customer connections.

        11.     Defendant 3M Company (f/k/a Minnesota Mining and Manufacturing Company)

 (“3M”) is a corporation organized and existing under the laws of the state of Delaware and does

 business throughout the United States, including conducting business in New Jersey. 3M has its

 principal place of business in St. Paul, Minnesota.

        12.     3M employs approximately 37,000 people in the United States and has operations

 in twenty-nine U.S. states, including a 204,000 square foot facility in Flemington, New Jersey

 which it has owned and operated since 1996.

        13.     3M has been registered to do business in New Jersey since August 30, 1949.

        14.     3M manufacturers more than 60,000 products in dozens of separate product

 categories including some well-known products such as Post-it notes, Scotch Tape, Dobie

 scouring pads, Ace bandages and Thinsulate insulation. 3M’s products were directly,

 continuously, and systematically sold throughout New Jersey.

        15.     3M sold PFAS to New Jersey customers located across the state.

        16.     It was foreseeable that 3M’s sales of PFAS in New Jersey would result in the

 release of PFAS into the environment and waterways of New Jersey.

        17.     3M had hundreds of sales of 3M PFAS containing products in New Jersey which,

 in related court filings, 3M argued were the source of the contamination in Middlesex.

        18.     3M’s fluorochemical business is complex and global, the . markets served are

 highly fragmented, multiple 3M products that are applied to multiple materials, sold into

 multiple market segments, and used for multiple end products.




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        19.     3M had or has sold PFAS to chemical purchasing customers in the Home

 Furnishings, Home Fashions, and Automotive market segments in New Jersey, and 3M’s

 fluorochemicals were applied in New Jersey.

        20.     3M had more than a dozen key customers in New Jersey in the Apparel and

 Related Businesses, Paper and Packaging, and Performance Chemicals business lines.

        21.     It was foreseeable to 3M that the PFAS it sold into New Jersey would

 contaminate surface and ground waters of New Jersey and thus they identified major receiving

 streams and watersheds for their customers to determine potentially significant PFAS sources

 flowing to specific areas and cities.

        22.     3M identified many customers in New Jersey that had the potential for release of

 [PFAS] in waste in order to estimate PFAS releases, environmental distribution, and possible

 human exposure assessment.

        23.     3M directly, continuously, and systematically sold PFAS containing surface

 active agents, finishing agents, sulfonated oils and assistants to a customer in the petroleum

 industry located in Newark, New Jersey.

        24.     3M directly, continuously, and systematically sold PFAS for leather tanning and

 finishing products to an apparel company located in Rahway, New Jersey.

        25.     3M directly, continuously, and systematically sold PFAS to a company in

 Hammonton, New Jersey in the nonwovens Segment of 3M’s Apparel and Related Business

 Unit. This customer purchased and used 3M’s PFAS in its operations.

        26.     . 3M directly, continuously, and systematically sold PFAS to a customer in the

 Paper and Packaging industry for use at its Milford, New Jersey facility.




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        27.     3M directly, continuously, and systematically sold PFAS to a customer in the

 paper and packaging industry for use at its Ridgefield, New Jersey facility

        28.     3M directly, continuously, and systematically sold PFAS to a customer in the

 household additives segment for use at its Jersey City, New Jersey facility

        29.     3M directly, continuously, and systematically sold PFAS to a customer in the

 carpet spot cleaners industry for use at its Belle Mead, New Jersey facility.

        30.     3M directly, continuously, and systematically sold PFAS to a customer in the

 carpet spot cleaners industry for use at its Carlstadt, New Jersey facility.

        31.     3M directly, continuously, and systematically sold PFAS to a customer in the

 carpet spot cleaners industry for use at its Montvale, New Jersey facility.

        32.     3M directly, continuously, and systematically sold PFAS to a customer in the

 carpet spot cleaner industry for use at its Wayne, New Jersey facility.

        33.     3M marketed, developed, manufactured, distributed released, trained users of,

 produced instructional materials for, sold and/or otherwise handled and/or used PFAS that is the

 subject of this Complaint, including in New Jersey and this District, in such a way as to result in

 the contamination of Plaintiff’s public drinking water supplies.

        34.     Upon information and belief, Defendant John Does 1-49 were manufacturers or

 users of PFOA or users of PFOS. Although the identities of the John Doe Defendants are

 currently unknown, it is expected that their names will be ascertained during discovery, at which

 time Plaintiff will move for leave of this Court to add those persons’ actual names to the

 Complaint as Defendants.




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                                    IV.    FACTUAL ALLEGATIONS
        35.       PFOS and PFOA falls within a class of chemicals known as per and

 polyfluoroalkyl substances (“PFAS”).

        36.       PFAS are non-naturally-occurring, man-made chemicals that were first developed

 in the late 1930s to 1940s and put into large-scale manufacture and use by the early 1950s.

        37.       3M was the only known manufacturer of PFOS and PFOS precursors in the

 United States.

        38.       PFAS are water soluble and can migrate readily from soil to groundwater, where

 they can be transported long distances.

        39.       PFAS are thermally, chemically, and biologically stable and resistant to

 biodegradation, atmospheric photo-oxidation, direct photolysis, and hydrolysis.

        40.       Water that is processed by typical municipal water treatment plants does not result

 in the removal, filtration or treatment of PFAS.

        41.       3M marketed, developed, distributed, sold, manufactured, released, trained users

 on, produced instructional materials for, and/or otherwise handled and/or used PFAS, including

 in New Jersey and this District, in such a way as to cause the contamination of Plaintiff’s public

 drinking water supplies.

        42.       Prior to commercial development and large-scale manufacture and use of PFAS,

 principally by 3M, no such PFAS had been found, detected, or were present in the environment

 or Plaintiff’s public drinking water supplies.

        43.       By at least the end of the 1970s, research and testing performed by Defendant

 indicated that PFAS because of its unique chemical structure, would bind to proteins in the blood

 of animals and humans exposed to such materials where it would not only remain and persist




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 over long periods of time but would accumulate and build up in the blood/body of the exposed

 individuals with each additional exposure, no matter how small.

        44.     Defendant’s manufacturing and/or distributing of PFAS resulted in the release of

 PFAS into the air, surface waters, ground water, soils and landfills. Through their involvement

 and/or participation in the creation of consumer or other commercial products and materials and

 related training and instructional materials and activities, including in New Jersey and this

 District, that Defendant knew, foresaw, and/or reasonably should have known and/or foreseen

 that PFAS from those products would contaminate the environment including but not limited to

 the groundwater relied upon by Plaintiff as its public drinking water supply.

        45.     By at least the end of the 1970s, 3M was aware that PFAS, had been detected not

 only in the blood of workers at its manufacturing facilities, but in the blood of the general

 population of the United States in people not known to be working at or living near PFAS

 manufacturing and/or use facilities, indicating to 3M that continued manufacture and use of such

 PFAS materials would inevitably result in continued and increased levels of PFAS getting into

 the environment and into human blood across the United States, even in areas nowhere near or

 associated with specific PFAS manufacturing or use facilities.

        46.     By at least the end of the 1980s, 3M understood that, not only did PFAS get into

 and persist and accumulate in human blood and in the human body, but that once in the human

 body and blood, had a long half-life, meaning that it would take a very long time (years) before

 even half of the material would start to be eliminated (assuming no further exposures), which

 allowed increasing levels of the chemicals to build up and accumulate in the blood and/or body

 of exposed individuals over time, particularly if any level of exposures continued.




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        47.     At all relevant times, Defendant, through its acts and/or omissions, controlled,

 minimized, trivialized, manipulated, and/or otherwise influenced the information that was

 published in peer-review journals, released by any governmental entity, and/or otherwise made

 available to the public relating to the risks of PFAS.

        48.     At all relevant times, Defendant, through its acts and/or omissions, took steps to

 attack, challenge, discredit, and/or otherwise undermine any scientific studies, findings,

 statements, and/or other information that proposed, alleged, suggested, or even implied any

 potential adverse health effects or risks and/or any other fact of any legal, toxicological, or

 medical significance associated with PFAS.

        49.     At all relevant times, Defendant, through its acts and/or omissions, concealed

 and/or withheld information from its customers, governmental entities, and the public that would

 have properly and fully alerted Plaintiff about the possible toxicological and other risks from

 having any PFAS in its drinking water supplies resulting in direct harm to Plaintiff.

        50.     At all relevant times, Defendant encouraged the continued and/or the increased

 use and release into the environment of PFAS, including into New Jersey and this District, by its

 customers and others despite knowledge of the toxicity, persistence, and bioaccumulation

 concerns associated with such activities.

        51.     Once governmental entities and regulators began learning of the potential toxicity,

 persistence, and bioaccumulation concerns associated with PFAS, Defendant cited to the

 pervasive use of such PFAS throughout numerous sectors of the American economy (which they

 had intentionally and purposefully encouraged and created) and the widespread presence of

 PFAS in blood of Americans (which they also had negligently, recklessly, and/or intentionally




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 caused) as an excuse and/or reason not to restrict or regulate PFAS, essentially arguing that the

 issues associated with PFAS had become “too big to regulate.”

        52.     To this day, Defendant denies that the presence of any PFAS in any individual’s

 blood, at any level, is an injury or presents any harm or risk of harm of any kind, or is otherwise

 of any legal, toxicological, or medical significance.

        53.     Defendant was and/or should have been aware, knew and/or should have known,

 and/or foresaw or should have foreseen that its marketing, development, manufacture,

 distribution, release, training of users of, production of instructional materials about, sale and/or

 other handling and/or use of PFAS and PFAS containing materials, including in New Jersey and

 this District, would result in the contamination of groundwater including groundwater used by

 Plaintiff as its public drinking water supply.

        54.     Defendant was and /or should have been aware, or knew and/or should have

 known, and/or foresaw or should have foreseen that allowing PFAS materials to contaminate the

 environment would cause injury to Plaintiff.

        55.     Upon information and belief, Defendant’s instructions, labels and material safety

 data sheets, if any, that were provided with PFAS or PFAS containing products, did not fully

 describe the environmental hazards of PFAS of which Defendant knew or should have known.

        56.     Throughout the 1950s, 3M’s own internal animal studies consistently concluded

 that PFAS are “toxic.”

        57.     A 1956 study at Stanford University, of which 3M was or should have been

 contemporaneously aware, concluded that PFAS manufactured by 3M bind to proteins in blood.

        58.     3M knew as early as the mid-1950s that PFAS accumulate in humans and

 animals.




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         59.    By the early 1960s, 3M understood that PFAS are stable and persist in the

 environment and that they do not degrade.

         60.    According to a deposition transcript from a lawsuit brought by the State of

 Minnesota against 3M (No. 27-cv-10-28862 (4th Judicial Dist. Ct. Hennepin Cty.)) (“Minn.

 Lawsuit”) for damages to the state’s natural resources from PFAS, 3M began monitoring the

 blood of its employees for PFAS as early as 1976 because the company was “concerned” about

 “health” effects of PFAS. 3M documents from 1977 relating to these worker tests further

 confirmed that PFAS bioaccumulate.

         61.    A 1978 study by 3M on PFAS confirmed that “these chemicals are likely to

 persist in the environment for extended periods unaltered by microbial catabolism.”

         62.    Studies undertaken by 3M in the 1970s demonstrated that PFAS were even “more

 toxic than was previously believed.”

         63.    A technical journal in 1970 observed after conducting tests on a 3M product

 containing PFAS that the product was “highly derogatory to marine life and the entire test

 program had to be abandoned to avoid severe local stream pollution.”

         64.    In 1979, a 3M scientist recognized in interoffice correspondence that serious harm

 could result from PFAS in the form of cancer because they are “known to persist for a long time

 in the body and thereby give long-term chronic exposure.”

         65.    Despite Defendant’s specific knowledge of the dangers and serious harm that

 could result from the continued use, manufacture, marketing and distribution of PFAS,

 Defendant failed to provide this information to federal or state regulators, the general public or

 Plaintiff.

         66.    According to the Minnesota Attorney General’s allegations in the Minn. Lawsuit,




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 despite 3M’s understanding of the risks associated with PFAS, 3M engaged in a campaign to

 distort scientific research concerning PFAS and to suppress research into the potential harms

 associated with PFAS.

        67.     According to a deposition transcript from the Minn. Lawsuit, 3M recognized that

 if the public and governmental regulators became aware of the risks associated with PFAS, 3M

 would be forced to halt its manufacturing of PFAS and PFAS-derived products that would result

 in the loss of hundreds of millions of dollars in annual revenue.

        68.     The potential loss of 3M’s massive profits from PFAS drove 3M to engage in a

 campaign to influence the science relating to PFAS and, according to internal 3M documents, to

 conduct scientific “research” that it could use to mount “[d]efensive [b]arriers to [l]itigation.”

        69.     A key priority of an internal 3M committee—referred to as the FC Core Team—

 was to “[c]ommand the science” concerning “exposure, analytical, fate, effects, human health

 and ecological” risks posed by PFAS and for 3M to provide “[s]elective funding of outside

 research through 3M ‘grant’ money.”

        70.     In exchange for providing grant money to friendly researchers, 3M obtained the

 right to review and edit draft scientific papers regarding PFAS and sought control over when and

 whether the results of scientific studies were published at all.

        71.     A significant aspect of 3M’s campaign to influence independent scientific

 research involved 3M’s relationship with Professor John Giesy. 3M provided millions of dollars

 in grants to Professor Giesy, who presented himself publicly as an independent expert but, as

 revealed in his deposition transcript from the Minn. Lawsuit, privately characterized himself as

 part of the 3M “team.”

        72.     According to Professor Giesy’s deposition transcript in the Minn. Lawsuit, he




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 worked on behalf of 3M to “buy favors” from scientists in the field for the purpose of entering

 into a “quid pro quo” with the scientists.

        73.     According to emails produced by Professor Giesy in the Minn. Lawsuit, through

 his position as an editor of academic journals, Professor Giesy reviewed “about half of the papers

 published in the area” of PFAS ecotoxicology and billed 3M for his time reviewing the articles

 and, in performing reviews of these articles, Professor Giesy stated that he was always careful to

 ensure that there was “no paper trail to 3M” and that his goal was to “keep ‘bad’ papers

 [regarding PFAS] out of the literature” because “in litigation situations” those articles “can be a

 large obstacle to refute.”

        74.     According to Professor Giesy’s deposition transcript from the Minn. Lawsuit,

 despite spending most of his career as a professor at public universities, Professor Giesy has a

 net worth of approximately $20 million which is, according to the Minnesota Attorney General,

 in part a direct result from his long-term involvement with 3M for the purpose of suppressing

 independent scientific research on PFAS.

        75.     Defendant’s manipulation and suppression of scientific research directly harmed

 Plaintiff because it prohibited governmental agencies from obtaining the necessary information

 to properly regulate (or ban) Defendant’s PFAS.

        76.     Defendants marketed and promoted its PFAS containing products with the

 assistance of industry funded trade groups including, but not limited to, the Fire Fighting Foam

 Coalition.

        77.     Under pressure from the EPA, on May 16, 2000, 3M announced it would phase

 out production of PFOS and PFOA, in part, because of the chemicals’ biopersistence.

        78.     3M ceased production of PFOS and PFOA in 2002.




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           79.   An EPA internal memo on the day of 3M’s phase-out announcement stated: “3M

 data supplied to EPA indicated that these chemicals are very persistent in the environment, have

 a strong tendency to accumulate in human and animal tissues and could potentially pose a risk to

 human health and the environment over the long term . . . . [PFAS] appears to combine

 Persistence, Bioaccumulation, and Toxicity properties to an extraordinary degree.” (emphasis

 added).

           80.   As described throughout Plaintiff’s complaint, Defendant’s acts of omissions

 were accompanied by a wanton and willful disregard of persons such as Plaintiff who

 foreseeably might be harmed by Defendant’s acts or omissions.

           81.   May 25, 2016, EPA issued a Notice of its revised lifetime health advisory for

 PFOS and PFOA as follows: “0.07 parts per billion (70 parts per trillion) for PFOS and PFOA.

 Because these two chemicals cause similar types of adverse health effects, EPA recommends that

 when both PFOS and PFOA are found in drinking water the combined concentrations of PFOS

 and PFOA be compared with the 0.07 part per billion HA level.”

           82.   On November 1, 2017, the New Jersey Department of Environmental Protection

 (“DEP”) announced that it would set a maximum contaminant level (“MCL”) for PFOA in

 drinking water of 0.14 parts per billion.

           83.   On June 8, 2018, DEP recommended an MCL for PFOS in drinking water of 0.13

 parts per billion.

           85.   In October 2020, 3M filed notices of appeal in the appellate division of the

 Superior Court of New Jersey to challenge the validity of the New Jersy PFOS and PFOA

 regulations. In January 2021, the appellate division denied 3M’s motion to stay the regulations.




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        86.     In March 2019, the New Jersey Attorney General filed two actions against 3M on

 behalf of the New Jersey Department of Environmental Protection, the NJDEP Commissioner,

 and the New Jersey Spill Compensation Fund regarding PFOA contamination at facilities in

 Pennsville and Parlin, New Jersey. The Attorney General’s complaint alleges that 3M supplied

 PFOA for use at the facilities.

        87.     In May 2019, the New Jersey Attorney General and NJDEP filed a lawsuit against

 3M alleging damages to New Jersey’s natural resources from 3M’s PFAS containing products.

        88.     3M is a defendant in two New Jersey federal court cases where individual New

 Jersey plaintiffs alleges that 3M sold PFAS to users in New Jersey which has contaminated their

 private drinking water wells located in New Jersey.

        89.     In March 2020, New Jersey designated PFOA and PFOS as hazardous substances.

        90.     3M has directly, continuously and systematically sold PFOA to numerous entities

 for use within New Jersey including, but not limited to, E.I. du Pont de Nemours, Inc. who used

 3M’s PFAS at its New Jersey plants.


        91.         Middlesex currently has at least seventeen wells in its Middlesex County

 System that are above both EPA’s health advisory guideline and/or New Jersey’s proposed MCL

 for PFOS and/or PFOA, individually or combined.

        92.     Multiple PFAS chemicals associated with 3M, such as PFOS, PFHxS and PFBS

 which are known to be primarily produced by 3M, are present in Middlesex’s drinking water

 supplies.

        93.     Twelve to nineteen percent of the total PFOA in Middlesex’s drinking water

 supplies is likely branched PFOA which is suggestive that 3M is the source of the PFOA.




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        94.     Perfluorocarboxylates such as PFHpA and PFHxA have been detected in

 Middlesex’s drinking water supplies. These chemicals are known to be manufactured by 3M.

        95.     A chemical analysis of the PFOS in Middlesex’s drinking water shows that the

 PFOS is from 3M’s electrochemical production of PFOS or PFOS derived materials.

        96.     3M is the sole manufacturer of PFOS and PFOS precursors in the United States.


                                      FIRST CLAIM FOR RELIEF
                                             (Negligence)

        97.     Plaintiff hereby incorporates by reference the allegations contained in the

 preceding paragraphs of this Complaint as if restated in full herein.

        98.     Defendant had a duty to exercise reasonable care in its design, engineering,

 manufacture, development, fabrication, testing, release, training of users of, production of

 informational materials about, handling, selling, use, and/or distribution of PFAS, including a

 duty of care to ensure that PFAS did not pollute the environment thereby contaminating

 Plaintiff’s public drinking water supply.

        99.     Defendant owed a duty of care towards Plaintiff that was commensurate with the

 inherently dangerous, harmful, injurious, environmentally-persistent, toxic, and bio-accumulative

 nature of PFAS.

        100.    Defendant failed to exercise ordinary care by acts and/or omissions that permitted,

 allowed, and/or otherwise resulted in the contamination of Plaintiff’s public drinking water

 supply with PFAS, including all such acts and/or omissions referenced in this Complaint.

        101.    Defendant knew, foresaw, anticipated, and/or should have foreseen, anticipated,

 and/or known that the design, engineering, manufacture, fabrication, sale, release, training of

 users of, production of informational materials about, handling, use, and/or distribution of PFAS




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 and/or other acts and/or omissions as described in this Complaint could likely result in the

 contamination of Plaintiff’s public drinking water supply.

         102.     Despite knowing, anticipating, and/or foreseeing the bio-persistent, bio-

 accumulative, toxic, and/or otherwise harmful and/or injurious nature of PFAS, Defendant, its

 agents, servants, and/or employees, committed negligent acts and/or omissions that resulted in

 the contamination of Plaintiff’s public drinking water supply with PFAS.

         103.     Defendant, through its and/or omissions as described in this Complaint, breached

 its duty to Plaintiff.

         104.     It was reasonably foreseeable to Defendant that Plaintiff would likely suffer the

 injuries and harm described in this Complaint by virtue of Defendants’ breach of its duty and

 failure to exercise ordinary care, as described herein.

         105.     But for Defendant’s negligent acts and/or omissions, Plaintiff would not have

 been injured or harmed.

         106.     Defendant’s negligent conduct was the direct and proximate cause of the injuries

 and harm to Plaintiff as described herein.

         107.     As a direct and proximate result of Defendant’s negligent conduct, Plaintiff has

 suffered, and continues to suffer, property damage requiring investigation, remediation,

 treatment and monitoring costs to be determined at trial.


                                     SECOND CLAIM FOR RELIEF
                                 (Common Law Negligent Failure to Warn)

         108.     Plaintiff hereby incorporates by reference the allegations contained in the

 preceding paragraphs of this Complaint as if restated in full herein.




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           109.   Defendant had a duty to exercise reasonable care in its design, engineering,

 manufacture, development, fabrication, testing, release, training of users of, production of

 informational materials about, handling, selling, use, and/or distribution of PFAS, including a

 duty of care to not only ensure that PFAS did not pollute the environment thereby contaminating

 Plaintiff’s public drinking water supply but also a duty to warn Plaintiff of the dangers associated

 with PFAS.

           110.   Defendant owed a duty to warn Plaintiff of the dangers associated with PFAS that

 was commensurate with the inherently dangerous, harmful, injurious, environmentally-persistent,

 toxic, and bio-accumulative nature of the chemical.

           111.   Defendant’s failure to warn permitted, allowed, and/or otherwise resulted in the

 contamination of Plaintiff’s public drinking water supply with PFAS.

           112.   Defendant knew, foresaw, anticipated, and/or should have foreseen, anticipated,

 and/or known that the design, engineering, manufacture, fabrication, sale, release, training of

 users of, production of informational materials about, handling, use, and/or distribution of PFAS

 and/or other acts and/or omissions as described in this Complaint could likely result in the

 contamination of Plaintiff’s public drinking water supply and had a duty to warn Plaintiff of this

 danger.

           113.   Despite knowing, anticipating, and/or foreseeing the bio-persistent, bio-

 accumulative, toxic, and/or otherwise harmful and/or injurious nature of PFAS, Defendant, its

 agents, servants, and/or employees, failed to warn Plaintiff of the dangers associated with PFAS.

           114.   Defendant, through its and/or omissions as described in this Complaint, breached

 its duty by failing to warn Plaintiff of the dangers associated with PFAS.




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         115.   It was reasonably foreseeable to Defendant that Plaintiff would likely suffer the

 injuries and harm described in this Complaint by virtue of Defendant’s breach of its duty to

 warn.

         116.   But for Defendant’s negligent failure to warn, Plaintiff would not have been

 injured or harmed.

         117.   Defendant’s negligent conduct was the direct and proximate cause of the injuries

 and harm to Plaintiff as described herein.

         118.   As a direct and proximate result of Defendant’s failure to warn, Plaintiff has

 suffered, and continues to suffer, property damage requiring investigation, remediation,

 treatment and monitoring costs to be determined at trial.

                                  THIRD CLAIM FOR RELIEF
                            (Common Law Strict Liability Failure to Warn)

         119.   During the time periods that Defendant manufactured, used and/or distributed

 PFAS, Defendant knew of the risks associated with PFAS including that PFAS were toxic,

 bioaccumulate in in the environment, are water soluble and can migrate readily from soil to

 groundwater, where they can be transported long distances.

         120.   As a manufacturer of PFAS and PFAS-containing products, Defendant had a duty

 to provide adequate warnings to Plaintiff and the public of the risks posed by PFAS.

         121.   Defendant knew of the risks associated with PFAS and failed to provide a

 warning that would lead an ordinary reasonable user or handlers of PFAS to contemplate the

 dangers associated with PFAS or an instruction that would have allowed Plaintiff to avoid

 damage to its property.




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         122.    Despite Defendant’s knowledge of the dangers associated with PFAS, Defendant

 did not issue adequate warnings to Plaintiff, communities or governmental agencies relating to

 the dangers PFAS posed to drinking water supplies.

         123.    Plaintiffs and others would have heeded legally adequate warnings and would

 have taken steps to ensure that PFAS were not used in a manner that would result in

 contamination of public drinking water supplies.

         124.    Defendant’s PFAS were unsafe because a warning could have made them safer at

 virtually no added cost and without limiting their availability.

         125.    As a direct and proximate result of Defendant’s failure to warn, Plaintiff has

 suffered, and continues to suffer, property damage requiring investigation, remediation,

 treatment and monitoring costs to be determined at trial.

                                          FOURTH CLAIM FOR RELIEF
                                               (Private Nuisance)
         126.    Plaintiff incorporates herein the allegations contained in all prior paragraphs of this

 Complaint as if fully restated herein.

         127.    Defendant’s acts and omissions with respect to PFAS caused and/or continue to cause

 a material, substantial, and/or unreasonable interference with Plaintiff’s use and/or enjoyment of its

 properties and has materially diminished and/or continues to diminish the value of such property.

         128.    Defendant’s material, substantial, and/or unreasonable interference with the use and/or

 enjoyment of Plaintiff’s property and/or continuing substantial and/or unreasonable interference with

 such use and/or enjoyment constitutes a continuing private nuisance.

         129.    Defendant’s creation and/or continuing creation of a continuing private nuisance

 proximately caused and/or continues to proximately cause damage to Plaintiff in the form of property

 damage of a type not common to the general public, for which Defendant is liable.



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        130.    As a direct and proximate result of Defendant’s actions and inactions, Plaintiff

 has suffered, and continues to suffer, property damage requiring investigation, remediation,

 treatment and monitoring costs to be determined at trial.

                                       FIFTH CLAIM FOR RELIEF
                                      (Past and Continuing Trespass)

        131.    Plaintiff incorporates herein the allegations contained in all prior paragraphs of

 this Complaint as if fully restated herein.

        132.    Defendant’s intentional and/or reckless acts and/or omissions have resulted and/or

 continue to result in the unlawful release and/or threatened release of PFAS under, onto, and/or

 into Plaintiff’s public drinking water supply.

        133.    The PFAS present in Plaintiff’s public drinking water supply were at all relevant

 times hereto, and continue to be, the property of Defendant.

        134.    The invasion and presence of the PFAS in Plaintiff’s public drinking water supply

 was and continues to be without permission or authority from Plaintiff.

        135.    The presence and continuing presence of PFAS in Plaintiff’s public drinking

 water supply constitutes a continuing trespass.

        136.    Defendant’s past and continuing trespass upon Plaintiff’s public drinking water

 supply has proximately caused and/or continues to proximately cause damage to Plaintiffs and

 the other Class members in the form of property damage, for which Defendant is liable.

        137.    As a direct and proximate result of Defendant’s actions and inactions, Plaintiff

 has suffered, and continues to suffer, property damage requiring investigation, remediation,

 treatment and monitoring costs to be determined at trial.


                                          PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendant as follows:


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        A.      Enter judgment in its favor and against Defendant on each Count of this

 Complaint;

        B.      An order that Defendant pay all damages suffered by Plaintiff, including but not

 limited to investigation, clean-up, abatement, remediation, engineering, treatment and monitoring

 costs incurred by Plaintiff, or for which Plaintiff is or was legally responsible, to comply with the

 EPA’s public health advisories and the state’s soil and groundwater cleanup standards and

 drinking water standards and criteria;

        C.      An award to Plaintiff for the costs of this suit (including but not limited to expert

 fees) and reasonable attorneys’ fees, as provided by law;

        D.      An award for punitive damages; and

        E.      An award for such other and further relief as the nature of this case may require or

 as this court deems just, equitable and proper.



                                      DEMAND FOR JURY TRIAL

               Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a jury trial.

                                                                     s/ Michael A. London
                                                                     Michael A. London
                                                                     Douglas and London PC
                                                                     59 Maiden Lane, 6th Floor
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        DATED: May 21, 2021




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